           Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 1 of 69




 1 BRIAN J. STRETCH (CABN 163973)
   United States Attorney
 2
   BARBARA VALLIERE (CABN 147374)
 3 Chief, Criminal Division

 4 WILLIAM FRENTZEN (LABN 24421)
   KATHRYN HAUN (DCBN 484131)
 5 MERRY JEAN CHAN (CABN 229254)
   Assistant United States Attorneys
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-6959
 8        Fax: (415) 436-7234
          William.Frentzen@usdoj.gov; merry.chan@usdoj.gov
 9
   ANDREW S. PAK (NYBN 4463436)
10 CATHERINE ALDEN PELKER (MD)
   Trial Attorneys
11
          Department of Justice
12        Computer Crime & Intellectual Property Section
          1301 New York Avenue, N.W., Suite 600
13        Washington, D.C. 20005
          Andrew.Pak@usdoj.gov; Catherine.Pelker@usdoj.gov
14
   Attorneys for United States of America
15
                                   UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18

19   IN THE MATTER OF THE SEARCH OF       )   Case No. 3:16-mc-80263-LB
     CONTENT STORED AT PREMISES           )
20   CONTROLLED BY GOOGLE INC. AND        )   REDACTED VERSION OF DOCUMENTS
     FURTHER DESCRIBED IN ATTACHMENT      )
21   A                                    )   ATTACHMENT TO STIPULATION REGARDING
                                          )   REDACTIONS
22                                        )
                                          )   (PART 5 of 5)
23                                        )
                                          )
24                                        )
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     REDACTED VERSION OF DOCUMENTS
      Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 2 of 69




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 3                                                                                     SUSAN Y. SOONG
                                                                                     CLERK, U.S. DISTRICT COURT
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 8                                       UNITED STATES DISTRICT COURT
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10                                                San francisco Division
11        lN Tl-IBM                                             Case No. 16-mo-8026'.3.. LB
          C  TENT                                               *SEALEDII<
12          TOREDA
          CONTROLLED BY GOOGLE AND AS                            ORDI!:R RE~ETTlMG HEARING
13        FURTHER DBSCRlBED IN
          ATTACI·IMBNT A
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JS I
              The government tll'ed an amended unopposed motion to cohtlnue the Febl'Ual'y 16 heal'lng to
16      Februru1y 21, The co.urt hears civil and miscellariemls tnotio~,s only on Thut•sdays and reset·ves
17       other days for civil trials a11d settlement conf~enoes, Thus, cases usually are resobedulcd only to a
18       oifferent Thurstlay. Timi s~id 1 the oourt will reset the hearing.to February 21, 2017, at 2:00 p.m., .to
l9       nocommodate the govei·M1ent. the coi.tl'l hns a jury Mal tha.t day~ the hearlng will be at the end of
         the trlal day. lf the trial shifts, the colll't will move the hearing tlllle to 9:30 a.in, Th~ government
21      must s.erve this 01·dcr on Google by email. The court will se1Ye it too b.y mail and email (bl\t
22       processing Will take a clay), The government also lodged supplemental nutltority lo day. It .must file
23       iL The coUL't never recei'Ved the government's enrlie1· motion, probably because ft Is being ,
24       processed l..n the clerk's office, The cou1·t 1•eiterntes lts prior order at ECF No. 7: the parties must
25       siwve copies by omall to avoid delay. The governmen
26            IT IS SO ORDEJIBD, ·
27            Dated: Febrnary 6, 2017
28
                                                          Unit~d States Maglsh'~tc Judge
         ORDBR-No, I6•l\'lc·80263°LB
              Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 3 of 69




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               4                                  UNITED STATES DISTRICT COURT
               5                                 NORTHERN DISTRICT OF CALIFORNIA
               6
                     GOOGLE,
               7                                                        CaseNo.16-mc-80263-LB
                                    Plaintiff,                          *SEALED*
               8
                             v.                                         CERTIFICATE OF SERVICE
               9
                     GOOGLE,
              10
                                    Defendant.
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                    said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery receptacle
                    located in the Clerk's office.
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~ 0                        Julie Erin Schwartz
  z.          18           Perkins Coie, LLP
                           3150 Porter Drive
              19           Palo Alto, CA 94304
              20            William Frentzen                      .
                            U.S. Attorney's Office, NDCA Gang Strike Force Unit
              21           .450 Golden Gate Avenue
                            San Francisco, CA 94102
              22
              23
                    Dated: 2/7/2017
              24                                                      Susan Y. Soong
              25                                                      Clerk, United States District Court

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   Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 4 of 69




      folie E. Sohwal'lz, Bar No. 260624
      J$ohwartz@perklnscoie.com
  2 . PERKINS ·COIE LLP
      1201 Third Avenue, Suite4900
  3 Seattle, WA 98101 :-3099
      Telephone: 206.359.8000
  4 Facsimile: 206.359.9000
  5    Todd M. Hinnen.pro haa vice
       THin11en@pe1·kinscoie,com
  6    John R. Tyler1 pro hac vice
       RTy ler@perkinsco ie,com
  7    PERKINS com LLP
       1201 Third Ave. Suite 4900
  8    Seattle, WA 9810 l
       Tel.: 206,359.8000
  9    Fax: 206.359.9000
 10    Attorneys for Google I11c.
 II
 12                                  UNITED STATES DISTRICT COURT

 13                                 NORTHERN 01STRJCT OF CALIFORNIA

 14                                     SAN ~RANCfSCO DIVISION

 15    In I e Malter of the Search of Content      Case No. 3-16-80263
                                  Stored at
 16    Premi'ses Coritro ed ,y Google Inc, nnd     GOOGLE INC.'S REPLY IN SUPPORT OF
       Fut1:ho1· Described in Attachment A         MOTION TO QUASH OR AMEND
 17                                                SEARCH WARRANT AND OPPOSITION
                                                   TO MOTION FOR ORDER TO SHOW
 18                                                CAUSE .

 19                                                Undet· Seal
 20                                                Date:           February, 16, 2017
                                                   Time:           10:00 a.m.
 21                                                Judge:          Hon. Law·el Beeler
                                                                 · U.S. Magistrate Judge
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                                                            GOOGLB IJ::lC.'S REPLYAND    ..
                                                            OPPOSITION, CASE NO. 3-16-80263
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                                                                            -iii-            GOOGLE INC.' S REPLY AND
                                                                                             OPPOSITION, CASE NO. 3-16-80263
 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 8 of 69




     I,       INTRODUCTION
 2            The warrant at issue in this matter directed Google to produce dataregardin             ifferent
 3   services for          ifferent accounts. Some of the data c.ould 11bt be confirn,ed to be s~ored in the
 4   United States. Som<.;: of the •cservices" are not 111 fact services at alt. Some of thc1u do not store
 5   any data. Some of them were not being used by some of the accounts. And with respect to still
 6   othe1· services, it is i:1ot clear (and the wa1Tant does not specify) what the govel'lllilent has in mind
 7   when the w1urant directs Google to produce infoimation reg~rding them.
 8            ln spite of tJ,e warl'ant's deficiencies, Google has sought dilige11tly and in good faith to
 9   fulfill it. Google prnduced 1·esponsive information clearly identified by the warrant.that Google .
Jo   could co1ifirm was stored in the United States. With 1·egard to the remalnde1\ Google engaged the
11   ·government to addres!;J the overbroad and unclear pottio11s. In addition, Google engaged the
12   government t.o discuss the implications of the Second Circuit's opinion in In re Wal'rant to
t3   Search ,1 Certain E-Mail Ac9Qtmt Controlled.& Maintained by Micro.sqft Cqrpor,mion, 829 F.3d
14   197 (2d Cir, 2016), teh 'g denied en bane, _ F.3d _, 2017 WL 362765 (2d Ck. Jan. 24, 2017), 1

15   shortly afte1· the opinion wns handed down, and has maintained open lines of communlcatlon ever
16   since.
17            Google has repeatedly sought to clarity what addllional information the governmertt seeks
18   via the warrant and to communicate clearly to the government what, consisleht with current law,
19   the warrant,can and cannot compel Google to produce. And when it became clear despite
20   Google's eff01:ts that the governmen't would not further clarify what infol'mation it sought by the
21   wa.11·ant, G0ogle moved to quash the warrant to the extent it applied to information that could not
22   be confirmed to be stored In the U.S.r encompassed "services" that did not exist 01· stoi·ed no use1·
23   infonnation, or identified the information to be seized so vaguely and generally that Google could
24   not discern what was sought. Google's motion to qu1:1sh was met with the government's request
25   fol' an Ol'det· to   show cause why Google should not be held in contempt,

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     1
       For clarity, Google refers to the panel holding as "Second Circuit Decision" and the denial of
28   the government's request for t"eheal'ing en bane as "En Ba.no Denial.' 1

                                                           -1-       ·GOOGLE JNC.'S RBPLY NP .
                                                                      OPPOSITION, CASE N0 •.3-16-802(>3
  Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 9 of 69




  1           Google moved to quash or amend the search warrant issued in this matter on two discrete

  2    legal grounds. First, Google requested that the Court quash the warrant to the extent it seeks data

  3    that cannot be confirmed to be located in the United States because a warrant issued under §

  4    2703(a) of the Stored Communications Act cannot compel Google to disclose such information.

  5    Second, Google requested that the Court quash or amend the warrant to the extent it purports to

  6    direct Google to disclose information from "services" for which Google does not retain any data

  7    or where it fails to describe with particularity the information it seeks.

  8           The government argues that § 2703 permits it to obtain a warrant that compels Google to .·

  9    disclose data stored outside the United States. The only federal appellate court (or district court,

 10    for that matter) to address the issue held unanimously to the contrary. See Part II.A, infra . .

 11           The government also misapprehends Google's overbreadth argument. It argues that the

 12    warrant cannot be overbroad because the Court issued it. Neither the Court nor the government

 13    are experts regarding Google's services, however. They cannot have known at the time the

. 14   warrant was issued that some of the "services" it encompasses are not actually services at all and

 15    that Google stores no user information for others. See Part II.B, tnjra.

 16           The Court should grant Google's motion to quash the warrant. The warrant cannot

 17    compel Google to produce data stored overseas. The warrant cannot compel Google to produce

 18    data that does not exist or that is not particularly described in the warrant. Google has already

 19    produced all other data identified by the warrant.

 20           Despite Google's diligence and good faith, the government has moved for an order to

 21    show cause why Google should not be held in contempt. There is no basis for such a motion, and

 22    it should be denied.

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                                                         -2-        GOOGLEINC.'S REPLY AND
                                                                    OPPOSITION, CASE NO. 3-16-80263
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 10 of 69




 1    II.     REPLY IN SUPPORT OF MOTION TO AMEND OR QUASH SEARCH
              WARRANT
 2
              A.     The Court should quash the Warrant to the extent that it does not comply .
 3                   with the SCA ..

 4                    1.     The Warrant purports to require Google to produce data in conflict
                             with the SCA as interpreted by the Second Circuit.
 5
 6            Each of the arguments that the government presents here was presented to the Second

 7    Circuit. That court, the only Circuit Court to have ruled on the matter, in a unanimous decision

 8    addressed those arguments and rejected them. Second Circuit Decision, 829 F.3d at 201.

 9            The Second Circuit held that Congress used the term of art "warrant" advisedly to invoke

10    the traditional attributes of a warrant, including its territorial limitations. 829 F.3d at 214. As the

11    panel explained, if Congress intended to say "probable cause order" or "probable cause

12    subpoena," it would have done so; instead, Congress intended to draw a distinction and "[t]he

13    term 'subpoena,' therefore, stands separately in the statute, as in ordinary usage, from the term

14    'warrant."' Id.; U.S.C. § 2703(c)(2) (listing the information that the government can obtain with a

15    subpoena), § 2703(d) (listing the information the government can obtain with a court order).2

16           Further, the Second Circuit explained that just because Congress modified the definition

17    of "court of competent jurisdiction" to expand the jurisdiction of courts within the United States

18    to issue SCA warrants does not mean that Congress intended for such warrants to compel

19    disclosure of data located outside the United States. 829 F .3d at 211. The panel noted that it

20    would be "particularly unlikely that if, Congress intended SCA warrants to apply

21   . extraterritorially" it would have done so without at least "address[ing] the subject of conflicts

22    with foreign laws and procedures." Id. (quoting E.E.O.C. v. Arabian American Oil Co., 499 .U.S.

23    2
        The governnient takes inconsistent positions throughout its briefing regarding whether an SCA
      warrant is like a probable cause subpoena, compelling a provider to gather and produce records in
24    its custody or control, or like a traditional warrant, authorizing the government to search Google,
      with Google "executHng] the search" only for "[f]or logistical reasons that are presumably
25    preferential to Google." Compare U.S. Opp. at 3, 10 ("Perhaps, as with a traditional warrant, the
      government should be tasked to [search Google's network and determine the location of stored
26    data] in executing future warrants."), with id. at 15 (a warrant merely authorizes a court to require
      a provider to disclose documents in its possession), 16 (same). The fact that the government
27    argues both contrary views is indicative of the need for legislative reform. Clearly, the
      government cannot have it both ways.
28

                                                        -3-        GOOGLEINC.'SREPLY AND
                                                                   OPPOSITION, CASE NO. 3-16-80263
      Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 11 of 69


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       1   244,256 (1991)). In fact, neither when Congre~s amended the statute to make search warrants

       2   effective outside the district of issuance nor when it amended it on two subsequent occasions did

       3   Congress make search warrants effective outside the United States. See Pub.L. 107-56, Title II,§

       4   220 (Oct. 26, 2001) (amending the SCA to give SCA warrants effect in districts in the U.S.

       5   outside the district of issuance); Puhl. L. 109-177, Title I,§ 107(b) (Mar. 9, 2006) (amending the

       6   SCA but not giving SCA warrants extraterritorial effect); Pub.L. ·111-79, § 2 (Oct. 19, 2009)

       7   (same).

       8             The government contends that in so holding, the Second Circuit ignored the long history

       9   of case law holding that the courts had in personam powers to compel businesses to disclose

      10   documents located overseas. Opp. at 16. The government is incorrect. The Second Circuit

      11   explicitly considered and rejected that proposition, holding that there is no basis to invoke case

      12   law addressing traditional grand jury and trial subpoenas t.o address the warrant provisions of the

      13   SCA, which do not provide such power. See 829 F.3d at 215 ("neit~er Marc Rich nor the statute

      14   gives any firm basis for importing the law developed in the subpoena context into the SCA's

      15   warrant provisions"). All of the cases cited by the government address subpoenas, not warrants.

      16        · In light of its determination that a§ 2703(a) warrant is indeed a warrant that directs a

      17   search and seizure, that at least part of that search and seizure occurs where the documents to be

      18   produced are stored, and that if some of the documents to be searched and seized are stored

      19   overseas then at least part of the search and seizure takes place outside the United States, the

      20   Second Circuit applied the test articulated in Morrison to determine whether Congress intended a

      21   warrant issued under § 2703 to compel the production of documents stored extraterritorially. See

      22   829 F .3d at 221. Perhaps seeking to avoid the error it had made in Morrison,3 the Second Circuit

      23
           3
             In Morrison, the Supreme Court rebuked the Second Circuit for ignoring the presumption
      24   against extra-territoriality and instead finding that a statute applied extra-territorially where
           Congress would have wanted it to apply if it had thought about it. See. Morrison v. Nat'l
      25   Australia Bank Ltd., 561 U.S. 247, 255-57(2010). The Supreme Court cautioned the Second
           Circuit against "judicial-speculation-made-law--divining what Congress would have wanted if it
      26   had thought of the situation before the court," id. at 261, and admonished the Second Circuit that
           the proper role of the courts is to "give the statute the effect its language suggests, however
      27   modest that may be; not to extend it to admirable purposes it might be used to achieve," id at
           270.
      28

                                                            -4-        GOOGLEINC.'SREPLY AND
                                                                       OPPOSITION, CASE NO. 3-16-80263
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 1   held that the "focus" of§ 2703 is privacy, and as such, thatthe locus of the act triggered by a§ ·

 2   2703(a) warrant is the location in which the private data is maintained. Id. at 218.

 3           The government argues that the panel misapplied Morrison by interpreting it within the

 4   context of the SCA more broadly; in the government's view, although the SCA's focus may be

·5   privacy, § 2703 's focus is the govermnent' s ability to compel disclosure. Opp. at 17 -18. As

 6   Judge Carney pointed out in her concurrence to the En Banc Denial, however, both from its own

 7   structure and content and from its context in an overarching statutory framework, it is clear that

 8   2703, too, is concerned with protecting the privacy of electronic communications, specifically

 9   against the threat of the government compelling the provider to disclose them. See En Banc

10   Denial, 2017 WL 3627065 at *2-3 (Carney, J., concurring in denial ofrehearing en bane).

11          This is evident not just from the text of the provision and the statute as a whole, but also

12   from the fact that § 2703 did not create a new authority to compel a business to disclose records;

13   the government akeady had authority to do so. See H.R. Rep. No. 99-647 at 22 (1986) (noting

14   that "there do not appear to be any federal statutes which directly address" limitations on

15   government access to email content). Instead, Congress's purpose in enacting§ 2703 was to

16   create a set of Fourth Amendment-like restrictions to protect privacy by restrictlng the

17   government's ability to compel disclosure of data. See S. Rep. No. 99-541, at 5 (1986) ("[T]he

18   law niust advance with the technology to ensure the continued vitality of the fourth

19   amendment."), reprinted in 1986 U.S.C.C.A.N. 3555, 3559. The Second Circuit thus determined

20   that the focus of§ 2703, like that of the SCA as a whole, was to protect the privacy of electronic

21   . communications. 829 F.3d at217 ("The overall effect [of§ 2703] is the embodiment ofan

22   expectation of privacy in those communications, notwithstanding the role of service providers in

23   their transmission and storage, and the imposition of procedural restrictions on the government's

24   (and other third party) access to priority stored communications."). The Depaitment of Justice

25   .has recognized this as well. See Searching and Seizing Computers and Obtaining Electronic

26   Evidence in Criminal Investigations, U.S. Department of Justice, Executive Office of the United
27   States Attorneys at 115 (Aug. 2009) ("The Stored Communications Act ... sets forth a system of

28   statutory privacy rights for customers and subscribers of computer network service provide1·s.")

                                                     -5-        GOOGLE INC.' S REPLY AND
                                                                OPPOSITION, CASE NO. 3-16-80263
 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 13 of 69




  1            The government also contends that it makes little sense for the SCA to provide greater

  2     privacy protection for records maintained by a provider thari those maintained by a user, insofar

  3     as the government could issue a subpoena to the account-holder to circumvent the warrant

  4     restrictions. Opp. at 16. Contrary to'the government's assertion, Congress designed a framework

  5     of privacy protections that required the government to make a higher showing to obtain records

  6     from a provider with no notice to the user and a lower showing where the user received notice.

  7     and had an opportunity to object. See Orin S. Kerr, A User's Guide to the Stored

  8     Communications Act, and a Legislator's.Guide to Amending It, 72 Geo. Wash. L. Rev. 1208,
  9     1219 (2004). In fact, Congress expressly did precisely that in§ 2703(b) (permitting disclosure of

 10     certain records with a subpoena with prior notice to the user, or a warrant). ·

 11            The government next argues that the Senate's ratification of the Council of Europe

 12     Convention on Cybercrime suggests that the Senate understands the SCA to permit the

 13     government to use search warrants issued pursuant to § 2703(a) to compel providers to disclose

 14     content stored outside the United States. Opp. at 22. Assuming for the sake of argument that

 15    · Congress's intent in enacting the SCA in 1986 can be inferred from its ratification of the COE

 16    . Cybercri~e Convention in 2006, 4 nowhere in the hundreds of pages of materials regarding the

 17

 18     4
          In fact, there is plenty of reason to be skeptical of both the government's argument that the
        Court should draw such an inference, and the government's interpretation of the Convention.
 19     Although the authorities cited by the government say that the Executive's interpretation of a
        treaty is ·owed deference, Opp. at 22, and that Congress's accession to an established·
 20     administrative interpretation of a statute sheds .light on Congress's understanding of that statute,
        Opp. at 24, the government cites no authority for the dubious proposition that Congress's
 21     understanding of a statute can be inferred from its ·subsequent ratification of a treaty. Nor does
        the Convention or its supporting materials suggest that a State must be able to compel a provider .
 22     to produce communications content stored overseas. To the contrary, the provision the
        government cites by its terms, and according to the Explanatory Report, does not even apply to
 23     providers and the neighboring provision that does apply to providers only requires States to be
        able to compel them to produce basic subscriber information. Compare Art. 18(1 )(a) (addressing
 24     the issuance of a production order to "a person") with Art. 18(1 )(b) (addressing the issuance of a .
        production order to "a service provider," and limiting production orders directed to providers to
 25     "subscriber information"); Explanatory Report~ 173 (drawing the same distinction, and
        suggesting that the "person" covered by paragraph l(a) is the user or account-holder). No canon
 26     of interpretation endorses the government's attempt to interpret a statute through a subsequent
        treaty and even if such a canon existed the treaty in question does not indicate that an SCA
 27     warrant can compel a service provider to produce communications content stored outside the
        United States; if anything it indicates the opposite .
. 28

                                                         -6- ..     GOOGLE INC.'S REPLY AND
                                                                    OPPOSITION, CASE NO. 3-16-80263
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 14 of 69




 1    Senate's ratification of the Convention is there any indication that the Senate specifically

 2   considered, let alone expressed a view regarding whether a warrant issued under § 2703 could

 3   compel a provider to produce records stored overseas.

 4             Finally, the government argues that because Google did not move to quash prior to the

 5   compliance deadline (which coincided with the date of the opinion), the reasoning of the Second

 6   Circuit Decision somehow doesn't apply. Opp. at 2~. This is wrong as a matter oflaw and

 7   ignores the facts. First, the timing of Google's motion has no bearing on whether the SCA

 8   permits the government to use a warrant to compel disclosure of data located outside the US;

 9   either it does, or it does not. 5 The,Second Circuit decision means that, under these facts, the

10   warrant simply has no effect with respect to records stored outside the United States.

11             Moreover, Google followed the well-established practice of communicating with the

12   government regarding the enforcement of legal process,6 and engaged the U.S. Department of

13   Justice's Computer Crime,& Intellectual Property Section, the government's national coordinator

14   and center of expertise regarding the SCA; as soon as the Second Circuit Decision issued. See

15   Senese Deel., 14, Google and its counsel also engaged with the government regarding the

16   warrant, its breadth and complexity, and the impact of the decision on compliance with the

17   warrant (indeed, the case agent acknowledged in writing that he understood that the warrant

18   "requested a large volume of information from Google, and that it would take time to gather and

19   produce the records"). Declaration of Erica Furer in Support of Reply Brief ("Furer Deel.), 129,

20 , Ex. B. Only after that preferred path was exhausted, and the government made clear it had no

21    interest in fmther discussing the matter, did Google take the initiative and file this motion to

22   quash the warrant. Creating a rule that a provider must file a motion to quash before engaging in

23

24
      5
          The same is true with respect to whether the warrant is overbroad.
25
      6
        See Searching and Seizing Computers and Obtaining Electronic Evidence in Criminal
26    Investigations, U.S. Department of Justice, Executive Office of the United States Attorneys at 139
      (Aug. 2009) ("Law enforcement officials who procure records under the SCA quickly learn the
27    importance of communicating with network service providers. Communication is necessary
      because every network provider works differently.")
28

                                                        -7-       GOOGLEINC;'S REPLY AND
                                                                  OPPOSITION, CASE NO. 3-16-80263
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 15 of 69




 1   such discusslo11s with the government would have significant, and negative, impacts 11pon judicial
 2   efficiency, and would also be unnecessary tn the vast majority ofcases.
 3                   2,           The warrant seeks data that does not exist or is not adequately .
                                  described.                                                                ·
 4
 5           The Wal'ra.nt directs Google to produce data associated with 11sel'vices" that elther do not
 6   exist or which contain no data. It directs Google to produce ·data ti·om accounts for services that
 7   were not even used by those accounts. As an example, the warrant sought Location History for
 8   all     ccounts and yet only              fthe accounts had Location HlstOl'Y data,' It also directs
 9   Google to produce records for services for which there- is no diso1·ete set of customer L"ecords;
10   simply naming such services arid di.reeling Google to pt·oduce any and all r<!cords l'elating to them
11   therefore does nol particularly describe the records to be seized. Google cannot ident'lry the
12   l'ecords sought with respect to such services without more specific guidance, Because the
13   government had not consulted with Google pri01' to obtaining the wan·ant (contrary to DOJ
14   guidance) and appears to have used a boilel'plateHst of services rnthet· than identifying those
15   relevant to its investigation, Google faced et least the following challenges in pl'Ocessing the
l6   wart·ant:
17
18
19                                                                         Not a. Google service that
                                                                           contains data but rather a
20                                                                         1·eference to an account being
                                                                           a Google Apps for Wo1·k
21                                                                         account
22                                                                         Not a Google serv'ice that
                                                                           contains data
23                                                  "1   -   -.   •.

                                                                           Not a Google service that
                      (       M            •



                          .                                            1
                      I
24                                                                         contain~ data
25                                                                         No discrete data set
                      "--- -       -   .
26
     7 Because the  govemment can issue subpoenas that ask for a list of services used by 1m account, it
27   can use the 1·esults to appropriately tallor a wa.1·rant to seek only services actually used by the
     accoµnts in question.                                            ·                          ·
28

                                                                       -8-·       GOOGLE INC, S •PLY AND
                                                                                  OPPOSITION, CASE NO, 3-16-80203
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 16 of 69




 2
                                                           No discrete d.ata s~t; Google
 3                                                         needs additiot1al parameters
                                                           to locate data
 4
                                                           No discrete ~ate. set; Google
 5                                                         n·eeds additional par~mefors
                                                           to locate data stored in a
 6                                                         variety of different systems

 7                                                         No discrete data set; Google
                                                           needs addltionnl parameters
 a                                                         to locate data

·9                                                         No disc1·ete data set; Google
                                                           needs additional parameters
to                                                         to locate data

11                                                         No discrete dilta set; Google
                                                           needs additional parnmetet·s
12,                                                        to locate data
                       ~·      -     ,         \
                                                           No discrete data sei; Google
13                     .,-..,._p, ~---____
                         - - ........        .....
                                             •f
                                                           needs additional para1nete1·s
14                                                         to locate data

15           The governmei1t cannot have had 1·eason to believe thal records 1·egardirig these "services"
16    would co11t~in ·evidence of a crime, The government also applied for a wanaht directing Google
17    to produce "any and all content" associa~ed with Google Maps 8 and Google Analytics, without
18    providing informatioh sufficient to identify suoh c0ntent, th~,s failing to identify the things to be
19    seized with particularity.9 Many of the accounts did not even use the services the warrant
20    8
       The government's opposition provides greater clal'ity on the information they seek from Maps.
      Assuming the affidavit established probable cause for this data, this is precisely the detail that
21    should have been iii the warrant itself, to permit Goo~le to conduct a search. Without it, Google
22    was unable to condugt a~earoh.           ·
      9
23      Law enforcement often lacks the specific info1·111ation Google needs to be able to conduct a
      seal'Ch of such services. Such information is often cohtaitied in the recOl'ds produced regarding
      other services, however. These services gene1;ally involve notifications that would appear In the
24    email account, and may also involve links that ru·e often shared via the associated email. ff, in
25    this case, the government would have submitted an initial wa1·mnt for records relating to othe1·
      services and reviewed the "consldernble" amount of data produced as a result, it could then have
26    described with particularity any specifl9 records associated with A11alytlcs, Maps, Sync or
      Webmaster Tools it thought might contain evidence of a crime. Google respeott'ully subm.lts that
      this two-step pt·ocess better comports with the Fourth Amendment than generally requested "any
27    and all" l'ecords 1·elating to such sel'vices based on speculation that some of the use1·s targeted may
28    have used them.

                                                        -9~ '      GOOGLE INC.' S REPLY AND
                                                                   OPPOSITION, CASE NO. 3-16-~0263
 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 17 of 69




  1   directed Google to search. Google explained all of this to the government in writing before it

  2   filed its motion, but the government ignored Google and refused to discuss Google's concern.

  3   See Deel. of John R. Tyler in Support of Mot. to Quash ("Tyler Deel."), Ex. D. (November 21,

  4   2016 letterto AUSAFrentzen).

  5          The government points to the fact that Google did not produce ce1tain Gmail accounts,

  6   Photos, attachments, and Calendar content, and argues that Google has no right to question the

 7    court's finding of probable cause with respect to that data. Opp. at 4-5. The government is in

  8   error. Google did not and does not argue that the government did not demonstrate probable cause

  9   that records regarding these servfoes might contain evidence of the crime; as Google explained to

10    the government weeks before filing its motion, and as is clear from the memorandum supporting

11    the motion, to the extent it did not produce such data it is because some of it is outside the United

 12   States and some of it cannot be confirmed to be in the United States. See Tyler Deel., Ex. D;

 13   Google's Memorandum of Points & Authorities at 2 (identifying records not produced because

14    Google could not confirm they were within the United States); id. 8 (identifying services with

 15   respect to which Google argues there could not have been probable cause). Google questioned

 16   the government's showing of probable cause only with respect to the 10 services listed above on

17    the basis that the government clearly did not understand the "services" (some of which are not

 18   services· at all) or what user records they might (or might not) contain. 10

·19          B.      The Court can decide Google's motion to quash or amend based on the
                     undisputed facts already available to it.
20

21           The Court can resolve Google's motion to quash based on the record before it. The

22    government obtained a warrant for a large volume of data (see Opp. at 3), some of which was

23    insufficiently described. Before Google could process the warrant, a federal Circuit Court issued

24    a landmark opinion that an SCA warrant cannot compel a provider to produce records stored

25
26    10
        Google of course has no visibility into the probable cause showing. But it is clear from what
      Google can see that there was a deficiency of probable cause at least with regard to the demands
27    Google search services that users never used, that are not services at all, or are services that
      contain no user data to search.
28

                                                       -10-        GOOGLE INC.' S REPLY AND
                                                                   OPPOSITION, CASE NO. 3-16-80263
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 18 of 69




 1   outside the United States. See Second Circuit Decision, 829 F.3d 197; Delaney Deel., ,r 8.

 2   Neither the Ninth Circuit nor any other federal court has ruled to the contrary. The government

 3   has asserted and relied on in other litigation (without any hearing) upon the very facts it here

 4   argues it needs a hearing to explore; See Pet. of the United States for Rehr'g and Rehr'g En Banc

 5   at 3-4, Microsoft Corp. v. United States, No. 14-2985 (2d Cir. Oct. 13, 2016) (" En Banc

 6   Petition") (describing the policy impact of the Second Circuit Decision as applied to Google's

 7   network and arguing that this impact should provide a basis for rehearing en bane).

 8          Google has made a clear and consistent record of what data requested by the warrant is

 9   outside the United States, and therefore was not produced. See Tyler Deel., Ex. D.

10          Google has also argued that the warrant is overbroad, lacks particularity, or cannot have

11   been supported by probable cause with respect to some "services" beca,use those services no

12   longer exist, are not in fact services, were not used by the accounts identified in the warrant, or do

13   not contain user data. Google has made a clear and consistent record of the "services" with

14   respect to which it has ma~e these arguments. See Tyler Deel., Ex. D.

15          The government does not contest this factual record. The Court has before it all of the

16   facts it needs to rule on the legal issues raised by Google's motion, and it should decide the

17   motion on that basis.

18   ill.   OPPOSITION TO MOTION FOR ORDER TO SHOW CAUSE
19          The government has also moved for an order to show cause and asked that the Court hold

20   Google in contempt. The government's motion is baseless, and should be denied.

21          A       The Court should deny the government's motion for an Order to Show
                    Cause.
22

23          Only now that it is incumbent upon the government to oppose Google's Motion to Quash

24   has the government claimed that Google should -be held in contempt. The government made no

25   such request when Google made its production, when Google notified the government that

26   consistent with the Second Circuit Decision it would not produce records stored outside the

27   United States, or when Google made its supplemental production. It made no such request when

28   ·Google clarified what had been produced and what w.as outside the scope of the warrant, or when

                                                      -11-       GOOGLEINC.'S REPLY AND
                                                                 OPPOSITION, CASE NO. 3-16-80263
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     Google tl'ied to engage the govel'hment in constructive dialogue about what furthel' the.
 2   govermnent thought the warrant required Google to produce. Th~ Colll't should be skeptical of a
 3   request to hold Google in contempt precipitated ·by Google f111ng a legal challenge to the
 4   govemment's warrant. ln factJ the government's motion fo1· an order to show cause is baseless,
 5             Google labored diligently and in good faith to comply with the warrant !ind the laws
 6   governing it and cominunicate9 openly and frequently with the government rngarding its efforts
 7   (often despite the lack of.a response from the government). The Cou11 should deny the .
 8   government's motion for a11 order to show cause why Google should not be held in contempt. 11
 9                    1.      Google promptly begnu processing the warrant,
10             Google's records show that the wanant was not sent when it was Issued on June 30, bul
11   was instead sent via email several days later dyring a 4-day holiday weekend, without any prior
12   notice or lndice.tion of priol'ity or ul'gency., Furer Deel., ,11 s. Du1•ing that holiday weekendJ
13   Google 1·eceived ove1· l,500 other detr1ands for information. Fut'er Deel., if t 9, Google
14   neve1·theless began WOL'king on the wal'rnnt the first business day after it wns received. Id, 124,
15                    2.     Google coulrl not possibly have prCJduced all of the records
                             encompassed in the time frame suggested by the government's
16                           opposition.
17            Th~ warrant requested records fol' each of       ~et-vices" fo1      parate accounts. FuJel'
18   DeQI.,   ,1~ 20-21. Given th~ volume a11d diversity of records sought, Google could not possibly
19   ·have p1·oduced all of the records encompassed by It even If the Second Circuit Decision had not
20   intel'vened. ld. Even without such complications, it would pave taken Google severnl weeks 01·
21   more to complete the production in response to this bul'dcnsoine wa1·1·ant, Id. Indeed while
                                                                                                1



22   Google has a data export tool to produce data for ce1·tain se1·vices, this wal'tant listed sel'Vices that
23

24   n The Court should also ignore the government,s impropcl' l'eterence to, and misohtll'actet;ization
     of, a 2014 sti,pulated 01·dei· to resolve a p"ri0r motion in sepa1·ate and um·elated litigation. The
25   stipulation by its terms "pert~ins only to the MHt'Qh subpoena.1 the April warrant, nnd the May
     warrant" that were at issue in that case, Opp., Ex, A at ,r 32. It is not a "settlement," imposes no
26   injunc!ive or p1:os~ective _obligations ~n Google, imposes no obligation 011 G~ogle t.o 11act[] in
     coinphanire" with 1t, Opp. at 26; and 1s not enforceable by the Court, Accordingly, the Court
27   sho!,!ld deny the government's improper .request .to hold a heating to uinvcstigate" whether Google
     has been agting in compliance with that stipulation.
28

                                                       · 12-       GOOGLE INC. 'S REPLYAND
                                                                   OPPOSlTION, CASE NO. 3-16-B026J
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 20 of 69




 1    required the assistance of product specialists to develop manual, individualized means of

 2    identifying and exporting data. Id.,~ 20-23; Declaration of Emily Guy in Support of Google's

 3    Reply and Opposition ("Guy Deel."),~ 6. The warrant was routed to and reviewed by multiple

 4    specialists on July 9th and July 12th, Furer Deel.,~ 24, but the laborious, time-consuming task of

 5    fulfilling it was halted July 14, 2016, when Google paused efforts to fulfill search warrants

 6    because with its existing tools Google could not ensure that productions would be consistent with

 7    the Second Circuit Decision. Id.,~~ 12, 24.

 8                    3.      Google engaged the government immediately regarding the potential
                              impact of the Second Circuit Decision.
 9
10           Google was in touch with the Department of Justice about the concerns raised by the

11    Second Circuit Decision from the day the. opinion was issued, and has gone to substantial lengths

12   · to both keep the government informed about the technological hurdles and to develop tools to.

13   permit its compliance unit to function consistent with the SCA. Declaration of Acadia Senese in

14    Support of Google's Reply and Opposition ("Senese Deel."), ~~ 4-7; Hinnen Deel'., ~ 3. Indeed,

15    on July 14, Google's in house counsel discussed the impact of the case in a meeting with

16    attorneys at the Office of International Affairs .("OIA") and the Computer Crime and Intellectual

17   Property Section of the Department of Justice ("CCIPS"). Senese Deel.,~ 4. Sta1ting the

18    following week, multiple in house Google attorneys, as well as Google's outside counsel, began

19    discussions with OIA and CCIPS about Google's network, the impact of the opinion on Google's

20    compliance capabilities, and tooling being developed by Google to address the Second Circuit

21   Decision. Hinnen Deel., ~ 3. During these discussions, the Department and Google have

22    expressed a mutual preference to resolve issues raised by the Second Circuit Decision through

23    dialogue rather than litigation wherever possible. Id.

24           Google discussed these issues with the Department not simply as a courtesy, but because

25    Google faced a litany of pending requests impacted by the Second Circuit Decision. Furer Deel.,

26    11 14, 19.   Communications with the Department was thus the most efficient way to address the

27    issue. See Furer Deel.,~ 19; Senese Deel.,~~ 5-6. The government thereafter relied in other

28

                                                      -13-       GOOGLE INC.' S REPLY AND
                                                                 OPPOSITION, CASE NO. 3-16-80263
 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 21 of 69




  1     cases on the fact that the Second Circuit Decision substantially impacts Google's compliance

  2     functions. See En Banc Petition at 3-4.

  3                         4.    Google undertook a time- and labor-intensive project to develop
                                  tooling to process warrants consistent with the law.
  4

  5                Google has also undertaken substantial efforts to develop tooling to address the Second

  6     Circuit Decision. Guy Deel., "il"il 12; 22-23 . Prior to the Second Circuit Decision, the tools and

  7     systems used by Google to store data had no reason to report the physical location of that data on

  8     Google's network, and many of them did not. Id., "II 7. Necessarily, then, Google had a limited

  9     capability to filter data based on the location of that data, and therefore lacked capability to

 10     produce data in response to search warrants in a manner consist_ent with the Second Circuit

 11     Decision. Furer Deel., ,r 12. Immediately after the decision, however, Google began a

 12    . significant, high priority effort to identify all sources of data for Google services sot~ght through

 13     legal process, in order to a) determine which ones lacked a location-reporting capability, and b)

 14     for those services, develop_ solutions that would permit Google to identify whether the data is

 15     stored in the US at the time it is being requested, and to export only that data stored in the US .

. 16    Id.,   ,r,r 8-10.
 17                Google employees began this effott by identifying the data source for each product, to

 18     ascertain whether Google could filter and produce only that data located in the United States (to

 19     ensure compliance with the Second Circuit Decision). Guy Deel., "ilif 8-10. This initial

 20     assessment revealed that for some services, Google could conduct a time consuming manual

 21     query to identify the location of the data, and produce that which is reported as being stored in the

 22     United States. Guy Deel., if"il 14-15; Furer Deel., "il"il 20-23. This was an impractical short-term

 23     solution for some services. Guy Deel., "ilif 14-15; Furer Deel., "i!iT 14-16.

 24                Concurrently, Google product engineers launched an effort to find a longer-term solution,

 25     in which Google would develop and implement code that would permit the various sources of

 26     data for each relevant service to repott on the location of that data. Guy Deel.,~~ 16-19. Then,

 27     Google needed to develop product-specific export functionality that would permit Google to

 28     export data based on the location of the data source, test that functionality in a secure

                                                          -14-        GOOGLE INC.' S REPLY AND
                                                                      OPPOSITION, CASE NO. 3-16-80263
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 1   environment to identify flaws while protecting the integrity of its data, and then properly train

 2   compliance personnel before deployment. Id.,~~ 20-21.

 3          Despite the fact that Google has no independent business need for such export filtering

 4   capabilities, this project was given urgent priority at the expense of other important business

 5   projects. duy Deel.,~~ 12, 22-23 . It has required coordination across dozens of independent,

 6   separate product teams and hundreds of employees, collectively costing more than an estimated

 7   4500 employee-hours to date. Id.,~~ 11-12, 23. And even after a filtering solution is complete,

 8   Google has completed its solutions for several products (such as Y ouTube and Drive), and

 9   continues to develop solutions that it expects to be complete this year. Id.,   ~   22.

10          Notably, the authorities provided by the government in support of its own position

11   demonstrate that Google's efforts have gone above and beyond what it is required to.do. The

12   State Department's Cybercrime Convention submittal letter and explanatory statement-- which

13   the government argues reflect Congress's view of what the SCA does and does not require --

14   expressly state that providers such as Google have "no obligation" to "obtain or deploy new

15   equipment or engage in ~ostl.y :r~configuration o_f their sy~tem.« in order to assist law

16   enforcement." Letter ofSubmittal to Senate from the Department of State (''Letter of Submittal'>)

17   at XIV, Treaty Doc. 108-11; see also Explanatory Repott, ~ 221 (same). Not only does Google's

18   conduct not merit contempt, its efforts to develop capabilities that will enable it to fulfill this and·

19   other warrants go far beyond what is required by law and beyond what the government should

20   reasonably have expected.

21                   5.      Google diligently and in good faith sought to comply with the warrant
22          After Google had developed, implemented, and sufficiently trained its personnel on the

23   short-term solutions to comply with the law, Google began processing search warrants again on

24   August 8, 2016. Furer Deel., 16. That same day, Google contacted the case agent to ask for a

25   date range associated with the request for one of the services listed in the warrant, and suggested

26   a one-week date range. Id., 11 25-26. The case agent responded positively and said that the

27   government did not require ·more than the one week of data suggested by Google. Id.

28

                                                       -15- ·      GOOGLEINC.'SREPLY AND
                                                                   OPPOSITION, CASE NO. 3-16-80263
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               Over the next sev,m~I weeks, Google began conducting individual, manual searches for
  2    data associatQd with each service identified in the wal'l'ant. Furer Deel., ~127-28. For some of'
  3    these services, Google could conduct no sea\'ch either because the sei'vioe did Ml exist, or
  4    because the wan·ant failed to provide sufficient information in order for Google to look fol' it. Id.,
  S    2 J-23. For others, Google needed to engage in a complex series of steps done manually and,         on a
  6    servfoe-by-service, account.. by-account basis, id. Indeed, as a t'esult of this exeroise; Google
  7    determined tha          mail accounts were located outside of the United States. id., 127.
  8            On September 27, 2016, the case agent contacted Google to acknowledge that the wammt
  9    sought a "lorg!;l volume" of data that would take a long time to compile, and requested that
 10    Google send a partial production of l'esponsive information. Fure1· Deel.,~ 29, Ex. B, Google
 11    made that partial production t11e next day. Id., if 30. These communications reflect common
 12    practice and expectations, particula1·ly with respect to extensive warrants such as this one: when
 13    the government requires an expedited response, they ca.h tell Google dh·ectly, and Google will do
. 14   Its best to do so (as it did her~; by sending the pa1·tial pt·oductlon).
 15            After the case agent followed up to inqufre a.bout the Impact of the Second Circuit .
 L6    Decision on the production, Google personnel expl'essly suggested that the government may wish
 17    to issu~ a pl'ese1vatton 1·equest. Sen~se Deel.,   n 8-11.    The government did not issue any
 l8    preservation t·equests nor respond to Google 1s concerns. Id.
 19            The government also ignores its own delays in this 1111\ttet·. The prosecutor repeatedly
20     ignored outside counsel for Google, and never even responded to Google's Novembe1· 21, 2019
2t     Jetter. Senese Deel., 1 12; Hiru1e11 o'ecl., ~ 5; sea also Tyler :Oecl., Ex, D. Mol'eover, lh<:i
22     govemment has t'epeatedly asked fot continuances on this p1·oceeding. Hinnen Deel.,~ 6.
 23            B.       Google should not be held in contempt because it went above and beyonil its
                        lcg~I obligations i~ order to comply with the Jaw and the wal'l'ant.
24
 25            Google acted diligently and in good faith to comply with the warrant consistent with the
 26    law, particulnrly in light of the substantial legal and technical obstacles re~ultlng from the Second
 27    Circuit Decision, The government has provided no lega'I authority (not· any legal argument)
 28    supporting its conten1pt request, nor has it specified whether it seeks cl'iminal or civil contempt.

                                                          -16-        GOOGLE INC. 1S REPLY AND
                                                                      OPPOSITJON, CASE N0, 3-16-H0263
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 1   Either way, given Google's substantial and ongoing good faith efforts to find a workable solution.

 2   -- none of which Google was required by law to undertake -- there is no basis for an order to

 3   show cause or contempt.

 4           Indeed, section 2707(e) of the SCA states that a "good faith reliance" on a court warrant

 5   or statutory authorization is a complete defense to any criminal or civil claim. 18 U.S.C. §

 6   2707(e). Accordingly, unless the government can show that Google acted in "bad faith," Google

 7   has a complete defense to any contempt finding. The facts supporting the government's

 8   opposition alone show that Google relied in good faith on the warrant and the SCA, as interpreted

 9   by subsequent case law, in responding thereto; the facts provided by Google in this reply remove

10   all doubt.

11           Finally, should the court determine an evidentiary hearing is necessary (which it is not),

12   Google requests a full hearing that likewise investigates the government's conduct in this matter.

13   A hearing on Google's conduct only tells half of the story, as Google had been involved in good

14   faith, transparent and amicable discussions with the Department of Justice. Google is also . ·

15   litigating these issues with the government in a civil and non-contentious fashion in other districts

16   throughout the country. The positions taken by the government in its motion for an OSC both

17   conflict with the positions taken by the government elsewhere, and ignore facts already known to

18   the government with respect to Google's efforts.

19   IV.     CONCLUSION
20           For the reasons mentioned above, the Court should grant Google's motion. The Court

21   should also deny the government's motion for an Order to Show Cause and deny the

22   government's request for an evidentiary hearing. To the extent the Court believes such hearing is

23   necessary, Google requests that Court conduct a hearing into the government's conduct in this

24   matter as well. 12

25
26   12
        The Court provided Google with the option to decline consent to have this matter heard before
     a Magistrate Judge, consistent with federal law and the local rules. 28 U;S.C. § 636; N.D. Cal.
27   Gen. Order 44. Google has declined consent and requested reassignment to a District Judge,
     likewise consistent with federal law and the local rules, and anticipates that it will be so
28   reassigned. Id.

                                                                 GOOGLE INC.'S REPLY AND
                                                                 OPPOSITION, CASE NO. 3-16-80263
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 25 of 69




 1   DATED: January 30, 2017         PERKINS COIE LLP
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                                     By:                    .      (J
3                                          Julie E. Schwartz, Bar No. 260624
                                           JSchwartz@perkinscoie.com
4
                                     Attorneys for Google Inc.
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                                   -18-       GOOGLEINC.'SREPLY AND
                                              OPPOSITION, CASE NO. 3-16-80263
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     Juli~ E, Schwal'lZ, Bai· No. 260624
     JSchwarlz~pel'kinscole,com
     PBRKJNS~OIB LLP
     3150 Porter Dl'l ve
     Palo Alto, CA 94304-12.12
    Tele.phone: 650,838.4300
    Pncsunile: 650,838.4350
    Todd M, Hinnen, pro hew vioe
    THinnen@perkinscole.com
    Joh11 R. Tyler, pro here v/ca
    RTyler@perkinscole.com
    PERl()NS corn LLP
    1201 Thi I'd Ave, Su lte 4900
    Seattle, WA 98101
    Tel,: (206) 359..sooo
    £:l'ax: (206) 359-9000
    A.ttornoys for Oooglis Inc,


                                     UNITED STAT.BS DISTRICT COURT
                                  NORTHERN DISTRICT OF CALlFORNJA

                                                   Case No. 3-J6-80263
     In the Motte,· of the Sea1·ch of Cont-ent
                                    tared al
     Pl'emiseir ontro cd y ogle Ii\c. and ·        Declnrnflon of Erica Furer iu Support ot'
     Fmthel' Described In Attachment A             Google Inc.' s Reply fo Suppol'~ofMotlou to
                                                   Quash 01' A.mend Se1U'ch WeJ·a•imt and
                                                   Opposition to Motion £or 01·der to Show
                                                   Cause
                                                    Under Seal
                                                   Judge: .      Hon. Laurel Beelet·,
                                                                 U.S. Magistl·ate Judge




                                                                               FURER DECLARATION
                                                                                                   l
                                                                                                   I
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     I, Erica Furer, declare as follows:


             I.        1·am a Legal Operations Associate, Business Analyst at Google Inc, ("Google"),

     where I have been employed for 4.5 years. My responsibilities include Project Management,

     Data Analysis, Operations Planning, and Vision Setting for the teams in the Legal Online

     Operations department.


             2.        1have reviewed the search warrant issued in this inatter and am familiar with the

     steps Google has taken to respond to the warrnnt. I am also familiar with Google's staridal'd

     operating procedures for responding to legal proce~s, and the steps Google has taken to modify its

     systems since July 2016 in order to comply with what I understand to be new legal requirements

     resulting from the recent decision in In re Warrant to Search a Certain E-Ma;t Account

     Contl'olled & Maintained by Microsoft Cmporation ("Second Circuit Decision"), 829 FJd 197

     (2d Cir, 2016).


            3.         I am over the age of eighteen and competent to make this declaration. I make each

     of the following statements based on my personal knowledge, and 1 cm1ld, if necessary, testify to

     the truth of each of them.


     Background Regarding Google's Legal Investigations Support Team


            4.         Google provides dozens of different services, fro,m search, email, and video; to

     business"oriented enterprise services, n1any of which are d~tailed on line here:

     hllps://www.google.com/intl/cn/about/prnducts/.


            5,         Google maintains a dedicated team, known as Legal Investigations Support

     ("LIS"), for responding to legal prncess issued by law enforcement entities in the United States

                                                        "2"

                                                                                    FURER DECLARATION
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     and al'ound the world. LIS !'eceives tens of thousands of pieces oflega] process and l'equests for

     assistance on an annual basis. Google provides specialized training for this team on the work

     flows and technical tools available to respond to such legal process.


     Responding to Legal Process


             6.     LIS uses a data export tool to identify, export, and prnduce data associated with

     cettain types of Google products in response to legal process.


             7.     For services that are not integrated into the data expmi tool, LIS members must

     conduct time-consuming manual searches of multiple databases in order to identify and produce

     respon~ive data. Fit'st, the LIS member must conduct a search to determine whether a service is

     even associated with the account at issue. If so, LIS then must conduct additional searches, often

     of multiple databases, for responsive data related to that service, If the warrant seeks records

    from multiple non-integrated se1'vices, LIS must engage in this multi-step manual proo~ss for

     each service for each account identified in the warrant.


            8.      This is a complicated, time-consuming process -- in the ordinary course of

    business, it can take several weeks 01· more to process a search warrant seeking records from

    multiple non-integrated services associated with a single account. Only certain LIS personnel

    have the expertise to obtain recol'ds from non-integrated se1vices.


            9.      For certain other products, such as Maps and Analytics, there are many possible

    sets of data for LIS to search depending on the data requested. ln order to search for data

    associated with these services, LIS needs to have details regarding the data sought sufficient to
                                                                                                          1·
    permit the relevant product teams and engineers to construct a query to search for the data. In the   !




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     absence Qf a specific request, with specific identifiers that are meaningful for that product, there is

     not enough information to peimit Google to constmctthe query.


            The Law EnforcemeutReqnest System


              10.   Google provides a Law E11forcement Request System ("LERS"), through which

     law enforcement entities can submit legal process requests electronically. Through this system

     Google has provided guidance to law epforcement regarding the types of services for which

     Google is able to produce responsive records, and provides further guidance to law enforcement

     regarding how to draft warrant language regarding a paiticular product 01• service that will allow

     LIS to conduct an acoul'ate search for potentially responsive data.


              11,   The seat·ch warrant at issue in this matter was sl!bmitted to Google via°LERS by an

     agent with a LERS account who therefore had access to the guidance described above.


        The Second Circuit Decision Substantially Impacted LIS


              12.   On July 14, 2016. Goorrle nlaced a moratorium on the pt'ocessing of all search

     warrants, in response to the ~econd Circuit Decision. I understand that the court's decision in the

     Second Circuit Decision meant that in order to produce content, Google needed to know that the

     data sought was stored in the United States. Howeve1\ based on existing tooling, LIS could not'

     determine the location of responsive data. Until additional tooling was built, our team could not

     be confident that it could process warrants consistent with newly understood requirements of the

     law.


              13.   Within days of the Second Circuit Decision, LIS became involved in a

     coordinated, multi-stakeholder, complex engineering effort to develop and implement tooling to




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     permit it to process warrants in compliance with such legal requirements. This effol't required the

     cooperation of many different product teams across the entire company. We were t?ld

     (repeatedly) that this effort was a top priority, and that effective, reliable solutions needed to be

     developed as soon as possible. The long-term goal of the pl'Oject (which remains ongoing) is to

     develop automated tools that permit LIS to filter data based on its location.


             14.     In the meantime, LIS (in conjunction with product teams) developed multiple

     sho1t-term solutions to conduct manual searches of certain products that are most often requested

     by law enforcement, such as Gmail.


             15.    After conducting an initial review, LIS determined that it could - for certain types

     of data - identify the alphanumeric codes of the datacenters in which the data is stored. LIS then

     built a translation table-to match the alphanumeric code of a datacenter with its geographic

     location, Once complete, LIS personnel could conduct a manual search for certain types of data

     to identify the alphanumeric code of the associated datacentel' or datacenters. Then, LIS

     personnel could then enter the datacente1· codes into the translation table to determine the country

     or countries in which the data was stored. LIS could then conduct additional, manual searches to

     pull data solely from data centers inside the United States.


             16.    In early August, as soon as it was able to develop and test tooling and woddlow

     processes for llt least some pl'oducts and services. that ensured compliance with the law
                                                                                            .
                                                                                               and to

     train LIS personnel to implem~nt them, LIS lifted the moratorium on processing seai·ch warrants.


            17.     However, for some types of data, such as email attachments, our existing solutions

     still do not permit us to confirm that such data is stored exclusively in the United States. This is

     because single files may be broken into component parts, and each pait may be stored in different

                                                      . -5-

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      locntiohs (and> Rcoo1·dlngly, different countJ·ies), Goo~le>s state-of-the-art Intelligent netwm1c

     muy 11lso move those component pa1·ts from one locntlon on Googlo•s nctwol'ldo anothei· as

      freCJuently flS nee_ded to optin,1.ze for pe1'fo1·ma11ce1 J'elltlbility ancl other effloioncies, As a i·esult,

     the counb·y or countl'les in which attQohment, Photos, or P1·ive files (or components the1·eof) arc

     located 111ay ohnnge,

         LIS Response to the Wnrrnnt lu TILis Crise

              18.      On Snhmfoy, July 21 2016, the seal'oh w1unmt WM submlf.1ed viu LERS, The

     submission fo1•m Indicated thnt the WRl'l'flllt was submitted by Special Agent Michael Delaney of

    · the Federal Bureau of Investigation, and listed un execution dendltne of July 14, 2016.

              J9.      On Monday, July 4th and Tuesd11y1 Jtily .5th Google wns closed fol" business In

     obsel'Y.!lhce of the f'outth of July hollclay. Thus the eudiest tlu~t an LIS teitm membe1· could hnve

     been ns:ilgned and begun wol'klng to fl1lfill the wa1•1·a11t would the1·efore have beo1, July 6,

     2016, On July 6, thore were t1lso 1,531 other pieces of legal pt·ocess demanding usea· data·that had

     come In oves· the holfday weekc11.d.

             20,       The warl'allt sought ''any and all" 1·ocords fro1         iffe1·e11t sel'Yices assoglated

     with       iffe1·ent accounts. The w01·1·a11t was promptly assigned to an US team member

     nppi·op1·lnte to handle a warrant ofsucl1 significant size a11d complexity. Based on my experience,

     nnd absent any complications1 I esthtmte thnt It would oJ'dlnal'!ly take at Jcast two.weeks to

     produce the records re.qu~stecl lo the wa1·1·a11t.

             2 I.      The warrant dll'octs Google lo p1•oduce l'ecol'ds fol' the sa111e list of       'se1:vices1'

     fo1• each of th      accounts Ute warmnt ldentitles, Sevel'lll of the 11se1·vlces•> Identified in the

     w111·1·111it iue not actually se1•vices, nnd the direction to pfoduce t1se1• 1·ecords wlth 1·espcct to them ls
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                                                                                                               Il
     therefore no11sensical. For example, the warrant sought data related to Dasher Policy, Google
                                                                                                               l
                                                                                                               I·
     Apps, and Apps Administl'ator Contml P.anel. These are internal identifiers for ce1iain features          I

     associated with Google Enterprise accounts ("Enterprise Flags") that simply indicate the

     availability of cetiain features within the Enterprise account, but do not relate to any data. Such

     Entel'prise Flags are typically identified in the subscriber information for enterprise                   I
     accounts. The govemment may have cut and pasted the Enterpl'ise Flags from a pri01· production
                                                                                                               I
                                                                                                               I
     into its list of"servfoes" without understanding what they were. Although they are not associated
                                                                                                               I
     with consumer acc<?unts, the warrant directs Google to produce records with respect to them for           I
     consumer accounts, too.


             22.     Several other identified services do not have discrete data sets associated with user

     accounts. For instance, the W/l.rrant sought data associated with Maps, Sync, Webmaster Tools

    ·and Analytics, which, as described in paragraph 9 above, do not contain discrete sets of

     responsive records. 1n orde1· to produce Maps 01· Analytics data, Google requires further

     specificio/. Otherwise LIS has insuffichmt details to create a query for Maps or Analytics data.


             23.     The warrant also sought data associated with Google Talk, which is no longer a

     Google service.


            24.     Dudng the week of July 6, 2016, the LIS team member assigned to the warrant

     routed it to multiple specialists for the pl'oducts and services identified in the warrant so that they

     could determine whether, based on the information p1'0vided in the warrant, records for their

     pal'ticulat' product or service could be identified, Fo1· example, on July 9, 2016, a YouTube

     product specialist reviewed the warrant. On July 12, 2016,. the warrant re-entered the LIS queue

     fat· general orocessing, only to be put on hold two days later as part of the post-Second Circuit

     Decision moratorium.
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                  25.                     On August 8, 2016, LIS Rgain began pl'ooessing the wa1'1'allt ut Jss11e in this case.


                  26.                     Because the warrnnt sought Loc11tion fjisto1•y (which at the lime l'equlrcd n m11nu11l

         que1•y), the LIS omployee contacted Special Agent Delaney on Al!gust 8, 2016, to request a

         specific date L'ange, which is required to construot 11 manual query for Locnlio11 Histol'y. Nelthe1·

         LIS, nor to my knowledge Anyone else 11t Googlo had received tmy communication from the

         goveriunent regnrding lhe warrant since it was uploaded Into LERS on .Tllly 2, 2016. Speciu1

         Agent Deluney 1·csponded on Augi1st 1I 1 2016, a11d provided a one-week date range
    -~-~-~- . - '           .
     (
       ...._ ..
            ,•
             ~~~-      .....:.   -   ('
                                           or Location Histol'y, Attached as E"x.hlbit A ls a true and col'rect copy oftlmt

         001't"espond1,nce.


                 27.                      FL·om August 8th tlu·ough Sepfomber 27, 2016, LIS continued to w01·k diligently

         throug~ the extrnol'dlnary numbe1· ofl'eoord requests 111 the wn1·1·a11t. LIS hnd to l'ely 011 tools nnd

         methods, including manunl setwches, developed und implemented since the Second Circuit
         Decision. During this time, the assigned LIS spcclal]st searched for 1·esponsive Gmail records by

         que1·ylng the datace11ter codes for each acco\mt idc11tifled in the wa1'1'a11t, and then inputting those

         codes il1to the librnry described In prm1grnph 15, above. Of the                        ocounts identified l.11 the

     warrant                     were stored e.nlirely outside the United Stlltes un(\            as a deleted account. This

         process itself took substnntluJ time to complete,

                 28.                  For the 1·cnnalnder of the accounts, the LIS speclallsts conducted additional,

         manual seal'ches fol' ~aoh sei·vice, for each account, with respect to those s~rvlces fo1· which

     G~ogle wns able to dete1·rnine tlw loclltion of 1·eoords,


                 29.                  On Seplembe1• 27, 2016, Special Agent Delaney sent an email to Google asking for

     a st~tus updat~. Except fo1• Its response lo Googfo 1s lnqu lry nbout a date rnnge for Location

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     History, described in paragraph 26, above; this was the first communication Google received

     from the government regarding the warrant since it was uploaded to LERS on July 2,

     2016. Special Agent Delaney acknowledged that the bl'eadth and complexity of the warl'ant

     meant it would take time to process, Be wrote, "I realize we rnquested a lal'ge volume of

     information from Google, and that it would take time to gather and produce the

     records." Consistent with the generally"accepted practice of practical and ·collaborative

     communication between the government and providers regarding the execution of warrants, he

     asked "ifwe can arrange of a partial or rnlling production of the records{.]" A true and correct

     copy of that email is attached as Exhibit B,


             30.    The next day, in response to Special Agent Delaney's request fo1· a Hpartial"

     production, LIS produced the responsive data available to it at that time, in a manner consistent

     with the Second Circuit Decision.                                                                   I
            31,     On October\ 2016, Special Agent Delaney again emailed Google, asking to
                                                                                                         I
                                                                                                         !
                                                                                                         j
     discuss Google's production. I-understand that my colleague Acadia Senese contacted Special         i
                                                                                                         I
     Agent Delaney shortly thereafter, as described in the attached Declaration of Acadia Senes~ in

     Support of Google's Reply Brief.


            32.     Between November 4 and November 18, 2016, LIS conducted additional manual

     searches for responsive data, as additional solutions regarding additional products and ~ervices

     became available. On November 18, 2016, LIS provided the government with a supplemental

     production that included metadata for Photos, as well as files containing the bodies and headers

     for all emails that contain attachments (but not the attachments themselves).

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            Pursuant to 28 U.S.C. § 1746, I declare under penalty ofpe1jury that the foregoing is true

     and correct to the best of my knowledge.




     Erica Furer




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                                                                                                         i




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                   EXHIBITB
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     Julie E. Schwartz. Bar No. ,260624
     JSchwartz@petkinscoie.com
     PERKD'1S COIE LLP
     31 SO Porter Drive
     Palo Aho. CA 94304-1212
     Telephope: 6S0.83R4300
     Facsimile: 650,838.4350
     Todd M. Hinnen, pro hac vice
     TH1noen@per1dnscoie.com
     J"°lm R. Tylerf pro ha~ vice
     RTyler.cg@perkutscole.com
     PERK.INS core LLP
     1201 Third Ave, Suite 4900
     Seattle, WA 98101
     Tel.: (206) 359-SOOQ
     Fax: (206) 3S9-9000
     Attorneys for Google Ino.


                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA

                                                ·case No, 3-16-80263

                                                Deelaration of EmUy Guy In Support of
                                                Google ln~. 's Reply lu Suppqrt of Motion to
                                                Qu111b or Amend Seareb Worrant nnd
                                                Opposition to Motion ror Order to Show
                                                Cause
                                                Under Seal
                                                Judge:       Hon. Laurel Beeler,
                                                             U.S. Magistrate Judge




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                                                                            OUY DBCLARATiON
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                 I, Emily Guy, declare as follows:


          1. I am a Business Systems Analyst for the Legal Works team at Google Inc. ("Google"},

      where I have been employed for one and a half years; My responsibilities while working with the

      Legal Works Team include product management (identify problems and devise solutions), project

     .management (implement the solutions), and production support (responding if'and when things

      br_eak).


          2. I am familiar with Google's tools for exporting data to respond to legal process and with

      the steps Google has taken to modify those tools in light of the recent decision in In re Warrant to

      Search a Certain E-Mail Account Controlled & Maintained by Microsoft Corporation ("Second

      Circuit Decision"), 829 F.3d 197 (2dCir. 2016).


          3. I am over the age of eighteen and competent to make this declaration. I make each of the

      following statements based on my personal lmowledge, and I could, if necessary, testify to the

      truth of each of them.


                 Background


                 4.     The Google Legal Investigations Support ("LIS") team is a dedicated team for

      responding to legal process, including search warrants issued by law enforceme1,1.t entities in the

      United States and around the world.


                 5.     Google offers users dozens of different Internet-based products and

     services. Although the storage process may operate differently for different products, Google has

      generally designed its systems to store the data for its products in locations that maximize
                                                                                '·

      efficiency, optimize user experience, and minimize costs.

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             Google's Pre-Second Circuit Decision Tools for Search Warrant Productions


             6.      The LIS team uses a tool that automates for some of its products and services the

     process of exporting data in response to legal process (the "data export tool"). The data export

     tool allows the LIS team to identify responsive data from certain Google products, obtain that

     product data, and prepare it for production. For other, "non-integrated" products, LIS team

      members have to perform, or request that product engineers perform, manual queries and data

      exports.


             7.      Before July 2016, the data export tool identified arid exported responsive product

      data, regardless of where such data was located. to servers based in the United States. The tool

     was data location agnostic; it did not identify where on Google's network data was stored, it

     identified and retrieved it regardless of location. There was no business reason for the export tool

      to detennine the location of data.


             Impact of the Second Circuit Decision


             8.      When the Second Circuit Decision was issued on July 14, 2016, I was tasked with

     overseeing a process for developing tools that could determine data storage location, and

     particularly whether data was stored inside or outside of the United States, for many of Google's

     different products and services.


             9.      I immediately worked with my LIS point of contact (POC) and counsel to reach

      out to the different product engineering teams and identify which of those products held any of

     their data exclusively outside of the United States. Once   we had identified which of those
     products needed further investigation, my engineers were brought in to meet with each of these

     product teams to come up with a holistic solution. We were tasked with adapting the data export

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      tool to determine the location of responsive data and to enable LIS to obtain and export data

      stored in the United States.


              10.    This meant that we needed to understand, for each product: (1) what data it stored,

      (2) where it stored that data, and (3) what underlying storage system(s) it used. We needed to

     understand how each of these storage systems worked. We also needed to understand the

     relationships between products. Finally, we needed to understand how each integrated product

      interacted with the data export tool.


              11,    Because data location is determined by product teams and the underlying storage

     systems they use to implement their products, in addition _to the engineers tasked with designing

     the export tools or methods, we had to involve each product team and the storage system teams in

     developing, implementing and deploying the solution.


             Google's Efforts


             12.     This project was prioritized at a "PO" level, meaning it was elevated above all

     other projects and business priorities. This meant not only that the engineering team responsible

     fur the data export tool had to put aside its preexisting business priorities, but also that the service

     system and product teams had to delay several of their business priorities to dedicate engineering

     resources to this project.


             13.     Even though this project required developing and implementing tools and methods

     that had no value to the product teams themselves, the product and storage service teams

     prioritized this project above their own plans and goals, and provided significant engineering

     resources over a period of months to support the project. This level of commitment from this

     many teams was only possible because of the clear message from high-ranking executives at the

                                                        -4-

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      company that this project was a top priority, a.nd because the Google Legal team consistently

      stressed the urgency of developing tools and methods that would enable them to do this in the

      face of what I understood to be new and different requirements.


             Short-Term Solutions

             14.    Despite the priority of this project and the commitment of so many company

     resources to it, we knew it would take several months to make significantprogress on the

     development of long-tenn solutions to such a complex technical issue. Even as the long-tenn

     solution was being developed. therefore, we sought to create short-term solutions that would meet

     .the new technical requirements faced by the LIS team in responding to warrants .


            .1s.    After we obtained information from product teams about how and where they

     stored data, we identified categories of data that were stored in the United States. The engineers

     worked with product teams to implement short-term solutions for any integrated products with

     these categories of data; As soon as these short-term solutions were illlplemented in the data

     export tool, they were made available to LIS for their use in responding to warrants. For some

     types of data, however, we were unable to determine any manual workaround that could be

     implemented, given the complicated nature of the storage systems.


             Long-Term Solutions

             16.    Development and implementation of a long-term solution began at the storage

     system layer. The storage system used by most Google products could identify the data center or

     data centers that held pieces of data that, once assembled, made up records, but Google did not

     have a ready means of exposing to the products which .data centers held these piec~s of



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                                                                                    GUY DECLARATION
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      data. With many data centers located around the world, keeping the inner-workings of the storage

     systems·invisible to the products is a priority.


             17.    We therefore had to implement a library that would determine the country in

     which a particular data center was located. This step could not be performed by the data export

     tool team, the storage system teams, nor the product teams, but instead required assistance from

     the Technology Resource Infrastructure Team.


             18.    At the same time, two storage system teams began upgrading their libraries to start

     exposing in.formation about a record's location.· These enhancements were particularly

     complicated because of the nature of Google's storage system, which may include data replicas

     and/or data that is split into component parts. As these enhancements were proceeding, both the

     product teams and the data export tool team were offering feedback and suggesting further

     changes to make the libraries more robust. Additionally, one of the storage systems found it had

     a dependency on the other storage system's solution. further complicating the technical challenge.


             19. . Once the storage systems were capable of returning only data stored within the

     United States, each of the relevant products bad to implement that capability within its owri code

     base.


             20.    Next, the export tool had to be modified to be capable of directing product exports

     to only return data stored within a specified country.


             21.    After this capability was implemented for each product, it had to be tested and

     deployed to production. Specifically, we needed to perform integrity and accuracy checks to

     ensure that the data being exported was accurate, responsive, and from the correct location. This

     entailed a time-consuming process of generating test data and writing additional tests to make
                                                        -6-

                                                                                    GUY DECLARATION
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     sure the capability was working properly and did not adversely affect the function of other

     products, tools or features. Nevertheless, it was a key and necessary ·step because, in at least one

     instance, we identified and fixed a problem in how the product exported data.


              22.    This project presented a sprawling, complex organizational and engineering

     challenge. I am proud of what we have been able to accomplish in a very short period of

     time. We managed to produce short-tenn and long-tenn solutions more quickly than might

     reasonably have been expected. We have more work to do before long term solutions are fully

     .implemented for all integrated products, which we expect to complete before the end of this year.


              23.    In total, the project has so far has required approximately 4,500 employee work

     hours, 150-200 change requests, and contributions from 45 technical employees on 10 product

     teams.

              Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct to the best of my knowledge.




                                                                           Date:   01/1..9/ 2 017




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Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 48 of 69




  Jt1lie E. Schwa.t'tz, Bm· No, 260624
  JSchwal'tz@perldnscoie.com
  PERKINS com 1..1:;p
  3150 Porter Dtivo
  Palo Alto, CA_ 94304"1212
  Tele\'.>hone: 650,838.4300
  Facsimile: 650.838.4350
  Todd M. Hinrum,pro hc/0 vlae
  THinnen@pel'k.inscoie.com
  John R. Tyler,pro hac vice
  RTylor@perkinsooie.com
  PBRKlNS COIE LLP
  1201 Third Ave, S-ulte 4900
  Seattle, WA 98101
  Tel.: (206) 359-8000
  Fax: (206) 359-9000
  Attorneys for Google Inc.


                                 UNITED STATBS DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA

                                               Case No. 3-16-80263

                                              Decforntion of Acacia Senese. .irl Support of
                                              Google Inc.'s Reply In Suppo1·t of Motion to
                                              Quash 01· Amend Seuch Wak·rnnt and
                                              Oppositlon to Motlon for Ol'dc1• to Show
                                              ~me                                       ·
                                               Under Seal
                                               Judge;       Hon. Laut·el Beel el',
                                                            U.S. Magistrate Judge




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                                                                          SENESE DECLARATION
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 49 of 69




          I, Acadia Senese, declare as follows:


          1. .    I am Co1,porate Counsel at Google Inc. ("Google"), where I have been employed

   since May 2015.


          2·.     I am over the age of eighteen and competent to make thls declaration. I make each

   of the following statements based on my personal knowledge, and l could, if necessat'y, testify to

   the truth of each of them.


          3.      I am a member of Google's Law Enforcement and Information Security Team. As

   pait of my duties,.! regularly communicate with the Department of Justice and other federal, state

   and local agencies regarding· government legal process for user data made pursuant to the Stored

   Communications Act, Wiretap Act, and Pen Register Trap and Trace Statute.


          4.      On July 14, 2016, I was in Washington D.C. for ajointmeeting with the

   Department of Justice's Office oflnternational Affairs ("OIA") and the Department of Justice;s

   Computer Crimes Intellectual Property Section ('·'CCIPS") to discuss Google 1 s policies and

   procedures for respond:ing,to Mutual Legal Assistance Treaty Requests as well as other legal

   process issued by the Department of Justice. Just prior to the meeting, I leamed that the Second

   Circuit Couii: of Appeal issued its ruling in In re Warrant to Search a Certain E-Mai'l Account

   Controlled & Maintained by Microsoft Co1poration ("Microsoft'\ 829 F.3d 197 (2d Cir. 2016)

   ("Second Circuit's Decision'}


          5.      During the meeting, the Chief of CCIPS inquired what Google's position was with

   respect to that ruling. I explained that the Second Circuit1 s Decision had just been issued that

   morning and that Google was still digesting the opinion, just as I suspected t~e government was

   as well. I noted that Google would be in touch shortly with both OIA and CCIPS to discuss the
                                                    ~2~



                                                                                 SENESE DECLARATfON
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 50 of 69




   motte1· ful'ther onoe Google had nn opportunity to 1·evlew the Second Cil'cutt's Decision. Upon

   my tehlm to San Francisco, I worked wit11 outside cm1asel to set up a confel'ence oaJI with CCIPS

   to· furthel' discuss the decision, See Dec, of Todd M. Hhmen in Support of MQt, to Quash.

        · · 6.     Subsequent to tl1at meeting, I fielded many phone calls from f~dernl agents und

   federal proseoutol's around the country to answel' questions about tl1e Second Cil'ouit's Decision, 1

   1·outinely explained the holding, its 1mpact 011 Google's production (if any) in response to search

  . wm·1·011ts, and answei'ed ·uny udditio11a.l questions from the govenlrnent. These phone calls were

   made in the spidt of addressing the Second Circuit's Decision constmctively with the govemment

   and to facilltate the already ongoing dialogue with the Deprutment of Justice.


           7.      On Septembe1· 2, 2016, J spoke with an Assistant United States Attorney

   (" AUSA") from tbe No11hem District of California about Em umelated request made pursuant to a

   Mutual Legal Asslstunoe Trenty. I explained· that Google was following the Second CfrcuJt's

   Decision in its response to aenrch warrants. The AUSA mentloned tbnt OIA was prepat'ing to send

   a letter to foreign countel'pm·ts about the Second Cil'cuit's Deoisio~. Xhlt'0t·med the AUSA that

   Google had already spoken with OlA and CCll->S about the Decision hut that 1 would reach out to

   OlA rega1·di~g the letter. Immediately following my call with the AUSA, I reached out

   proaotively to OJA nnd scheduled a call to discuss the letter.


           8.      On Ootobe1· 12, 2016, ln respo11se to the govem1nent 1s questions about the

   production Google made in th¢ ·instant matter, I called Special Agent Michael Delaney. I spoke

   w[tll Agent Delaney and explained thn                        tal'get accmmts wel'e stored enti1'ely

  . outside ofthe 'U1tlted States and that, given the Second Cit'cuit's Decision; the govel'nment's

   searcl1 wru1·ant could not compel Google to produce tbat data. Google Inc, has a long~Stflnding

   publlc policy (with limited exceptions such as disclosul'es made Ju ,:esponse to emel'gency
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    disclosure requests and proactive referrals) of not disclosing user data to the government unless it

    is compelled to do so.


           9.      I also explained to Agent °Delaney that for some services, such as Gmail, certain

   .categories of data were not produced because Google could not determine whether the data was

   stored in the United States. For example, I explained that Google could not dete1mine the

   location of attachments to emails and Google therefore did not produce those attachments. I

   explained that given the·manner in which Google stores some ofits data, such as attachrne11ts, a

   file could be broken up into smaller chunks or shards, the chunks could be stored in separate

   servers, and the chunks could move continuously and independently of one another.


           1O.    During that same conversation, I suggested to Agent Delaney that he send

   preservation extension requests to Google Inc. for accounts that had been previously presetved

   and send new preservation requests for the remaining accounts. I offered that he could put those

   requests to my attention so that I could personally oversee them. Google Inc. has not received
                                                                                                           I
                                                                                                           Ii
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   any preservation requests from the government for the accounts identified in the warrant since          I
                                                                                                           [
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   that conversation. Finally, I offered to have a conversation with the AUSA assigned-to the
                                                                                                           I
  . inyestigation to answer any additional questions that the government might have.                       I
                                                                                                           J
                                                                                                           Ii
           11.    On October 12, 2016, anticipating tha,t the govemment would submit preservation

   requests as I had suggested, Google extended any existing preservations related to the account

   beyond the 90-_day period of the original prnservation requests.
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                                                                                SENESE DECLARATION
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          12.     Shortly after I spoke with Agent Delaney, I left a voicemail with AUSA Frentzen

   regarding the search warrant. By the time AUSA Frentzen returned my call several days later, I

   had already engaged outside counsel to represent Google in this .rriatter.


          Pursuant to 28 U.S.C, § 1746, I declare under penalty ofpe1jury that the foregoing is true

   and correct to the best. of my knowledge.




          Acadia L. Senese




                                                                                SENESE DECLARATION
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 53 of 69




   Julie E. Schwartz, Bnr No . 260624
   J~chwnnz@perkinscoie.com
   PERKINS com I.LP
   3150 Porter Drive
   Palo Alto, CA 94304-1212
   Telephone: 650,838.4300
   Focsimlle: ,650,838.4350
   Todd M. Hi111le11, p1 10 h<w vke
   TH in nen@perkinscoie.com
   .John R. Tyler, pm /1(lc 11i<JI!
    RTyler@perki11scoie.com
   PERKINS COIE LLP
    120 I Third Ave. Suite 49.00
   Seattle, WA 98 IO I
   Tel.: (206) 359 ~8000
   rax: (206) 359-9000
   Attorneys for Google Inc.


                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALfFORNIA


                                                Cose No. 3- 16-80263

                                                Declnrntion of Todd Hinnen in S11p11o1·t or
                                                Google lnc. 's Reply Jn Support of Motion to
                                                Quash or Amend Senrch Wnrrnnt nnd
                                                01lposltio11 to Motion for Order to Show
                                                Cause
                                                Ullder Seal

                                                Judge:        Hon. Lnurel Beeler,
                                                              U.S. Mflgistrate Judge




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                                                                          HINNEN DECLARATION
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 54 of 69




           I, Todd M. Hinnen, declare as follows:


           1.      I am a partner at the law firm Perkins Coie LLP m1d cot:msel to Google Inc.

    ("Google'') in the above"captioned matter.


           2.      ram over the age of eighteen and competent to make this declaration. I make each

    of the following statements based on my personal knowledge, and I could, if necessaty, testify to

    the trnth of each of them.


           3.      Shortly after the Second Circuit handed clown its Decision on July l4, 2016; I

    reached out on behalf of Google to the Department of Justice's Computer Crime & Intellectual

    Prope1'ty Section, the Department's desig11ated coordinator and center of ex:pe1tise with regarding

    the Stored Communications Act ("SCA"), to schedule a discussion of the potential effect the

    Decision 111ight have on Google's fulfillment of SCA warrants. The resulting phone call involved

    several different components of the Department of Justice. During the discussion, Google

    informed the government that it stored some data outside the United States and that it understood

    that m1der the Microsoft Decision the government would no longer be able to compel production

    of sl1ch data with an SCA warrant. Google and the government agreed to keep "open lines of

    cornmt111icatio11" regarding the effect of the Decision and to avoid mmecessary litigation. That

    was the first of several such discussions Google had with the government between July and

    September of 2016.


           4.      On November 21, 2016, I sent a letter to Assi.stant United States Attorney Frentzen

    for the purpose of clarifying with the govemment, and inviting further discussions with the

    government regarding, what information had, and what information had not, been produced in

    response to the warrant. The government did not respond to my letter. A true and correct copy of


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                                                                                HJNNEN DECLARATION
         Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 55 of 69


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            that letter ,vas provided to the Co111i as Exhibit D to the Declaration of Jobn R. Tyler (Dec. 6,

            2016).


                     5.     On December 6, 2016, I called Assistant United States Attorney Frentzen to follow

            up on my letter of November 21. 1 did not reach Mr. Frentzen, but left a voicen!ai1 for him

             indicating that Tunderstood that the govemment did not agree with Google that the Second

             Circuit's decision affected its compliance with a warrat1t iss,ied in the Northern District of

             California, that Google would Hlce to resolve that disagreement 1hrough discussions with the

             government, and that if Google were unable to resolve it through discussions, by promptly

            seeking clarity from a court. I noted that Google was· preparing a Motio11 to Quash to that end,

            bnt ,vould be happy to withdraw that motion if instead the government and Google could come to

            an agreement. Mr. Frentzen responded via email on December 20, 2016.


                     6.     In his email of December 20, 2016, and subsequently, Mr. Frentzen has proposed

            to continue the briefing and argument schedule to accommodate other work and personal
             obligations. Google has either joined the government in, or not objected to or opposed, each such

             request by the government.



                     Pursuant to 28 U.S.C. § 1746, I declare nnder penalty of pe1jury that the foregoing is true

             and cm:rectto the best of my knowledge.



                                                                                  Date:    January 30, 2017




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                                                                                          HINNEN DECLARATION
              Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 56 of 69




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              8                                 UNITED STATES DISTRICT COURT
              9                               NORTHERN DISTRJCT OF CALIFORN[A
             10                                      SAN FRANCISCO DIVISlON
             11    IN THE MA TI'ER                                      Case No, 16-mc~80263~LB
                   CONTENT                                              *SEALED*
       ti!   12    STORED A1PRE SES OONTRO
~ 'j§              BY GOOGLE AND AS FURTHER                             CONSENT OR DECLINATION
 0~          13    DESCRlBED IN AITACHMENT A,                           TO MAGISTRATE JUDGE
u.... ·-
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             14
Cl :0        15      INSTRUCTIONS: Please indicate below by check.In~ one of the two boxes wheth~r you (if
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$ ·-         16   you are the party) ot• the party you represent (if you are an attorney in the case) choose(s) to
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                  consent or decline magistrate judge jul'isdic~ion in this matter. Sign this   fortTi   below you1· selection.
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:;)    0             ( ) Consent M Magls-t1·ate .Judg~ .Jurisdiction
       z     18
                      ln accordance with the p1·ovisions of 28 U.S.C. § 636(9) 1.I volunta1·ily consent to have a
             19
                  United States magistrate judge conduct all further pt·oceedings in this case, including trial and
             20   entry of final judgment, r understand that appeal from the judgment shall be taken dfrcctly to the
                  United States Coul't of Appeuls for the Ninth Circuit,
             21                    OR
             22      (X) Decline Magistrate Judge Jurisdiction
             23
                      I11 accordai1ce with the provisions of 28 U.S.C. § 636(c), l decline to have a United States
             24   magistrate judge conduct all forther proceedings in this case and I hereby request that this case be
                  reassigned to a Uhited States districtj1,1dge.
             25
                  DATE: Janua1y 9, 2017                                     NAME: Julie E. Schwartz
             26                                                   COUNSEL FOR
             27                                                   (OR "PRO SB11): .Non-party Google Inc.

             28
                                                                                      Isl Tulle E.Sr:hwattz
                                                                                          Signature
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 1                                          PROOF OF SERVICE

 2            I, Marla J. Heap, declare:

 3            I am a citizen of the United States and employed in Santa Clara County, California. I am
 4    over the age of eighteen years and not a party to the within-entitled action. My b~siness address

 5    is 3150 Porter Drive, Palo Alto, California 94304-1212. On January 9, 2017, I served a copy of

 6    the within document(s):

 7           CONSENT OR DECLINATION TO MAGISTRATE JUDGE JURISDICTION
 8
           .o        by transmitting via facsimile the document(s) listed above to the fax number(s) set
                     fmth below on this date before 5:00 p.m.
 9

10                   by placing the document(s) listed above in a sealed envelope with postage thereon
                     fully prepaid, the United States mail at Palo Alto, California addressed as set forth
11                   below.

12                   by placing the document(s) listed above in a sealed                envelope and
            D        affixing a pre-paid air bill, and causing the envelope to be delivered to a Deliveiy
13                   Service agent for delivery.
14
                     by personally delivering the document(s) listed above to the person(s) at the
15
            0        address(es) set forth below.

16                   by transmitting via e-mail or electronic transmission the document(s) listed above
                     to the person(s) at the e-mail address(es) set.forth below.
17
            . William Frentzen, Esq.
18            United Stated Attorney's Office
              450 Golden Gate Avenue, 9th Floor
19
              San Francisco, CA 94102
20            william.frentzen@usdoj.gov

21            I am readily familiar with the firm 1s practice of collection and processing correspondence
22    for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same

23    day with postage thereon fully prepaid in the ordinary course of business. I am aware that on

24    motion of the party served, service is presumed invalid if postal cancellation date or postage

25    meter date is more than one day after date of deposit for mailing in affidavit.

26           I declare that I am employed in the office of a member of the bar of this court at whose

27   · direction the service was made.

28
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 1       ~xecuted on January 9, 2017, at Palo Alto, California .

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                                                                                       Marla J. Heap
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   Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 59 of 69




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December 15, 2016


Susan Y. Soong, Clerk of the Court
Office of the Clerk
United Stales Dislrlct Court for the Northern District of California
450 Go1don Gate Avenue
San Francisco, CA 94102-3489

Re:    Pl'o llac Vice Ap lications for Todd M. Hinnen n.nd John R. Tyler, In t/,e Matter of
the Search of Co11tent                        Stored at Pl'emises Co11trol/ed by Google Im:.
a11d Further Described in Attacllment A, Case o. 3-16-70816
Dear Ms. Soong:

Per Criminal Local Ru.le 56-1, electronic filing of sealed documents in criminal cases are not
permitted. All papers for the above-mentioaed criminal case are required to be filed under seal.
Accordingly, the Pro Hae Vice Applications of Todd M. Hinnen and John R. Tyler me hereby
submitted under sea! manually and in bard copy fol'm.

Very truly yours,


Julie E. Schwartz
JSchwartz@perl<lnscoie.com

Attorneys for Non-Party Google Inc.
   Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 60 of 69




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        Julie E, Schwartz1 Bar No. 260624
        JSchwartz@perkinsooie.com                                 ?.011 DEC19 ~M g: ltO
  2     PERKINS COIE LLP
   3    3150 Porter Drive ·
        Palo Alto, CA 94304~1212
  4     Telephone: (6~()) 838-4300
        Facsimile: (650) 838-4·350
   s
        Todd M, HinncnJ pro hac vfce pending
  6     THinnen@perkinscoie.com
   7    John R, Tyler,pro hac vice pending
        RTyler@perklnscoie~cotn
   8    PERKJNS COIE LLP
        1201 Third Ave. Suite 4900
   9    Seattle, WA 98101
        Tel.: (206) 359~8000
 10     Fax: (206) 3S9-9000
 tl     Attorneys for Google Inc.
 12
                                     UNITED STATES DISTRICT COURT
 13
 14                                 NORTHERN DISTRICT OF CALIFORNIA

 15
 16                                                     Case No. 3-16-70816

 17
                                                        Application of John R, Tyler for Admission
 18                                                     ofAttorney Pro Hae J/lce
 19                                                     (Civil Local Rule 11-3)
 20                                                     Under Seal
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 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 61 of 69




 1            l, John R. Tyler1 an active member in good s~ding of the bar of the Washington
 2   Supreme Court, hereby respectfully apply for admission to practice pro hac vice in the Northern
 3   District of California representing Non-Party Google Inc. in the above-entitled action. My local
 4   co-counsel in this case is Julie E. Schwartz, an attorney who is a member of the bar of this Court
 5   in good standing and who maintains an office within the State·of California.
 6
     My address of record:                                   Local co-counsel's address ofrecord:
 7
     1201 Third Ave., Ste. 4900, Seattle, WA 98101           3150 Porter Dr., Palo Alto, CA 94304
 8
     My telephone# of record:                                Loca\ co-counsel's telephone# ofrecord:
 9
     (206) 359-8000                                          (650) 838-4300
10
     My email address of record:                             L9cal co-counsel's telephone# of record:
11
     RTyler@p·erkinscoie.com                                 JSchwartz@perkinscoie.com
12

13            I am an active member in good standing of a United States Court or of the highest court of
14   another State or the District of Columbia, as indicated above; my bar number is: 42097.
15            A true and correct copy of a certificate of good standing or equivalent official document
16   from said bar is attached to this application.
17            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially
18   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local
19   Rules.
20            I declare under penalty of perjury that the foregoing is true and correct.
21
22   DATED: December        /4 ; 2016
23

24
25
                                                                Applicant
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                                                                      PRO HAG VICE APPLICATION & ORDER
                                                                                        Case No. 3-16-70816
                                                                                           41063-0096/l 3382785 S. I
 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 62 of 69




 1                              ORDER GRANTING APPLICATION
                           FOR ADMISSION OF ATTORNEY PRO HAC VICE
 2

 3            IT IS HEREBY ORDERED THAT the application of John R. Tyler is granted, subject to

 4    the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
 5    appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
 6   · designated in the application will constitute notice to the party.
 7
 8    DATED: _ _ _ _ __
 9                                                             United States District/Magistrate Judge
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                                                                      PRO HAG VICE APPLICATION & ORDER
                                                                                        Case No, 3-\6·70816
                                                                                         41063-0096/133827855.I
         Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 63 of 69




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          IN THE SUPREME COURT OF THE STATE OF WASBJNGTON

                                                                                )
                 IN THI: MATl'ER OF THE ADiv!ISS!ON                            )                        BAR N0.:42097
                                                                                )
                                         OF                                    )'                      CERTIFICATE
                                                                               )
                         .JOHN RANDALi, TYLER                                  )                               OF
                                                                               )
         TO PRACTICE lN THE COURTS OF 11-!IS STATE                             )                     GOOD STANDING·
                                                                               )




                  l, Susan L. Carlson, Clet·k ol'thc Supreme Coun oflhe State           or Washington, hereby certiry

                                                   .J'OHN RANDALL TYLER.

         was rcgulnrly ad111i1tc<l to prnclice as nn ,1\uorney nnd Cou1iselor at Law in the Suptcme Court and all the

         Courts of the Stille of Wa.,hinglon on November JO, 2009, and is now and has continl10usly sit\cc that date

         bee1i an attoi't1ey in good st;inding, nnd has·n cur1·ont stutus of notivc.-



                                                                IN TESTIMONY WI lEREOF, l have
                                                                hereunto sci nw hand and affixed
                                                                the sen\ ofsn[ci Courl this l ' 1 day or
                                                                December, 2016.




                                                                Susan L. C11dson
                                                                Supreme Com! Clerk
                                                                \:V11shi11gton Slate Supreme Court
 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 64 of 69




     Julie E. Schwartz, Bar No. 260624
     JSchwartz@perkinscole.com
 2   PERKINS.Corn LLP
 3   3150 Porter Drive
     Palo Alto, CA 94304-1212
 4   Telephone: (650) 838·4300
     Facsimile: (650) 838-4350
 5
     l'odd M. Hittn~n, pro hac vice pending
 6   THhmen@p~ldnscoie.com
 7   John R, Tyler. pro hac vice pending
     RTyler@pcrkinscoie.com
 8   PERKINS COIE LLP
     1201 Third Ave. Suite 4900
 9   Seattle, WA 98101
     Tel.: (206) 3?9-8000
10   Fax: (206) 359-9000
11   Attorneys for Google Inc,
12
                                  UNITED STATES DISTRICT COURT
13
14
                                 NORTHERN DISTRICT OF CALlFORNIA

15
16                                              Case No. 3-16-70816
17
                                                Applicntlon of Todd M, Hinnen for
18                                             .Admission of Attorney Pro Hae Vice
19                                              (Civil Local Rule 11.;3)
20                                              UnderSenl
21
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                                                          . PRO H.4C       'E PP !CATION & ORDBR
                                                                                  Case No, .3•16-708J6
                                                                                   4I063•0D91i/133827831, I
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 65 of 69




 1            I, Todd M. Hinnen, an active membel' fo good standing of the bar of the Washington

 2   Supreme Court, hereby respectfully apply for admission to practice pro lwc vice in the Northern

 3   District of California representing Non-Party Google Inc. in the above-entitled action. My local

 4   co-counsel in this case is J nlie E. Schwartz, an attorney who is a member of the bar of this Comt

 5   in good standing and who maintains an office within the State of California.
 6
     My address of recoi·d:                                   Local· co-counsel's address of record:
 7
     1201 Third Ave., Ste. 4900, Seattle, WA 98101            3150 Porter Dr., Palo Alto, CA 94304
 8
     My telephone # of record;                                Local co-co1,111sel's telephone# of record:
 9
     (206) 359-8000                                           (650) 838-4300
10
     My' email address of record:                         . Local co-counsel's telephone# of record:
11
     THinnen@perkinscoie.com                                  JSchv.rartz@perkinscoie.com
12

13            I am an active men1ber in good standing of a. United States Court or of the highest court of

14   another State or the District of Columbia, as indicated above; my bar number is: 27176.

15            A true and correct copy of a certificate of good standing or eq11ivalent official document

16   from said bar is attached to this application.

17            I agree to familiarize 111.yself with, and a.bide by, the Local Rules of this Court, especially
18   the Standards of Professional Conduct for attorneys ·and the Alternative Dispute Resolution Local

19   Rules.

20            I declare under penalty of perjmy that the foregoing is true and correct.
21

22 .. DATED: December 15, 2016                            PERKINS COIE Lb.P---......
23                                                         · /7 , n i1 /:I .-. · . \
                                                          By: c.<Jt-d~:U1l!,~ ~br£tA~.
24                                                               Tocid M. Hiimeh
                                                                 THinnen@perkinscoie.com
25
                                                                 Applicant
26
27
28                                                      -2-
                                                                        PRO HAC VICE APPLICATION & ORDER
                                                                                          Case No. 3-16-70816
                                                                                             41063-0096/133827831.l
  Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 66 of 69




  1                             ORDER GRANTING APPLICATION
                           FOR ADMISSION OF ATTORNEY PRO HAC VICE
  2
  3           IT IS HEREBY ORDERED THAT the application of Todd M. Hinnen is granted, subject
  4    to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
  5    appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
  6    designated in the application will constitute notice   to the party.
  7
  8
       DATED: - - - - - - -
  9                                                              United States District/Magistrate Judge
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 11.

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                                                                        PRO HAC VICE APPLICATION & ORDER
                                                                                          Case No. 3-16-70816
                                                                                           41063--0096/133827831, I
Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 67 of 69




 IN THE SUPREME COURT OF THE ST ATE OF WAS.HINGTON
                                                 . .




                                                                    )
       IN THE MATTER OF THE ADMISSION                               )                     BAR NO. 27176
                                                                    )
                               OF                                   )                     CERTIFICATE
                                                                    )
                    TODD M. l::UNNEN                                )                           OF
                                                                    )
TO PRACTICE IN THE COURTS OF THIS STATE                             ).                  GOOD STANDING
                                                                    )




         1, Susan L. Carlson,' Clerk of the Supreme Court of the State of Washington, hereby certify


                                             TODD M. I-TINNEN

was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Cowt and nl) the

Courts of the State of Washington on October 28, 1997, and is now and has conlinuously since that date

been an attorney in goocl standing, and has a current stati.1s of active.



                                                       fN TESTlivlONY WHEREOF, I have
                                                       hereunto set iny hand and affixed
                                                       the seal or said Court this 151 day of
                                                       Docem ber, 2016.




                                                       Susan L. Carlson
                                                       Supreme Court Clerk
                                                       Washington Slo le Supreme Court
     Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 68 of 69




       JuUe E. Schwartz, Bar No. 260624
       .J Sch wartz@perkinscoie.com
 2     PERKINS corn LLP
 3
       3150 Porter Drive
       Palo Alto, CA 94304,'1212
 4     Telephone: 650.838.4300
       Facsimile: 650.838.4350
 5
       Todd M. Him;i.en;pro /we Vir:e pending
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 7     Jolm R. Tyler, pro hac vice pending
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10     Fax: (206) 359-9000
11     Attmneys fat· Google Inc.
12
                                      UNITED STATES DISTRICT COURT
13

14
                                   NORTHERN DISTRICT OF CALIFORNIA

15

16                                                 Case No, 3-16-70816

17
                                                   PROOF OF SERVICE
18
                                                   Under Seal
19
                                                   Judge:       Hon. Laurel Beeler,
20                                                              U.S. Magistrate JHdge
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 Case 3:16-mc-80263-RS Document 49-8 Filed 05/05/17 Page 69 of 69




 1                                          PROOF OF SERVICE

 2           I, Winnie W. Hung, declare:

 3           I am a citizen of the United States and employed in Santa Clara County, California. I am

 4    over the age of eighteen years and not a party to the within-entitled action. My business address

 5    is 3150 Porter Drive, Palo Alto, California 94304-1212. On December 15, 2016, I served a copy

 6    of the within document(s):

 7                  LETTER TO COURT OF CLERK REGARDING PRO HAC
                    VICE APPLICATION FILING
 8
                    APPLICATION OF TODD M. HINNEN FOR ADMISSION
 9                  OF ATTORNEY PRO HAC VICE
10                  APPLICATION OF JOHN R. TYLER FOR ADMISSION OF
                    ATTORNEYPROHACVICE             I
11
12                   by placing the document(s) listed above in a sealed envelope with postage thereon
13.                  fully prepaid, the United States mail at Palo Alto, California addressed as set forth
                     below.
14

15           William Frentzen, Federal Prosecutor
             U.S. Attorney's Office
16           450 Golden Gate Ave, Box 36055
             San Francisco, CA 94102-3495
17
18           I declare that I am employed in the office of a member of the bar of this court at whose

19    direction the service was made.
20           Executed on December 15, 2016, at Palo Alto, Califo :nia.
                                                       .     .    I       , , /_
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